Case 0:08-cr-60016-MGC Document 97 Entered on FLSD Docket 10/28/2008 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 08-60016-CR-ZLOCH




  UNITED STATES OF AMERICA,

              Plaintiff,

  vs.                                                   O R D E R

  ROBERT K. ALLAN,

            Defendant.
  ______________________________/

        THIS MATTER came before the Court upon Government’s Motion For

  Reduction Of Sentence Pursuant To Fed.R.Crim.P. 35(b)(DE 94).

  Hearing   was    held   on   the   Motion   on   October   28,    2008.    Upon

  consideration of the Government’s Motion, proffers, argument of

  counsel, and being otherwise duly advised upon the premises, it is

        ORDERED AND ADJUDGED that the aforementioned Motion be and the

  same is hereby GRANTED.

        The sentence previously imposed is hereby reduced to a term of

  39 months custody of the United States Bureau of Prisons as to

  Count One of the Indictment.

        Upon release from imprisonment, the Defendant shall be placed

  on supervised release for a term of three years.                 All previously

  imposed standard and special conditions of supervised release are

  reimposed.      A $100.00 special assessment, if not already paid, is
Case 0:08-cr-60016-MGC Document 97 Entered on FLSD Docket 10/28/2008 Page 2 of 2




  due and payable immediately.        The Court recommends that Defendant

  be returned to FCI Edgefield as soon as possible.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this        28th          day of October, 2008.




                                      WILLIAM J. ZLOCH
                                      United States District Judge


  cc:   Terry Lindsey, Esq., AUSA
        Gennaro Cariglio, Jr., Esq.
        Clifford McKinney, U.S. Probation Office
        U.S. Marshal




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